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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 20-113JVS

 Defendant           Hanbang Fang                                            Social Security No. 6         7   6     2
 akas:   “Simon”                                                             (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.        Jan       11      2021

  COUNSEL                                                             Karen Goldstein, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Possession of Child Pornography in violation of 18 USC Sections 2252A(a)(5)(B), (b)(2) as charged in Count 2 of the
                     Information

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: 18 months on Count 2 of the Information


It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

Pursuant to 18 U.S.C. §§ 3014(a)(3), 2259A(a), the additional special assessments are waived as the Court finds
that the defendant has established that he is unable to pay and is not likely to become able to pay the assessments.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Hanbang Fang,
is hereby committed on Count 2 of the Information to the custody of the Bureau of Prisons for a term of 18
months.
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 20 years under
the following terms and conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation &
            Pretrial Services Office and Second Amended General Order 20-04.

         2. During the period of community supervision, the defendant shall pay the special assessment in
            accordance with this judgment's orders pertaining to such payment.


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         3.    The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4. The defendant shall participate in mental health treatment, which may include evaluation and
            counseling, until discharged from the program by the treatment provider, with the approval of
            the Probation Officer.

         5. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-
            ordered treatment to the aftercare contractors during the period of community supervision. The
            defendant shall provide payment and proof of payment as directed by the Probation Officer. If
            the defendant has no ability to pay, no payment shall be required.

         6.    The defendant shall register as a sex offender, and keep the registration current, in each
               jurisdiction where he resides, where he is an employee, and where he is a student, to the extent
               the registration procedures have been established in each jurisdiction. When registering for the
               first time, the defendant shall also register in the jurisdiction in which the conviction occurred
               if different from his jurisdiction of residence. The defendant shall provide proof of registration
               to the Probation Officer within 48 hours of registration.

         7. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex
            offender treatment program, as approved and directed by the Probation Officer. The defendant
            shall abide by all rules, requirements, and conditions of such program, including submission to
            risk assessment, and physiological testing, such as polygraph and Abel testing.

         8. As directed by the Probation Officer, the defendant shall pay all or part of the costs of
            psychological counseling or psychiatric treatment, or a sex offender treatment program, or any
            combination thereof to the aftercare contractor during the period of community supervision. The
            defendant shall provide payment and proof of payment as directed by the Probation Officer. If
            the defendant has no ability to pay, no payment shall be required.

               9. The defendant shall spend six (6) months in home confinement followed thereafter by 12
                  months participation in Blue Tiger Recover Program at a level determined by the program.

         10.       The defendant shall participate in an evaluation by a trained professional, approved by the
               Probation Office, to assess the defendant's risk to the community as a sex offender. The
               evaluation may include physiological testing, such as polygraph and Abel testing. The Court
               authorizes the Probation Officer to disclose the Presentence Report, and any previous mental
               health evaluations or reports, to the evaluation provider. As directed by the Probation Officer,
               the defendant shall pay all or part of the costs of the sex offender risk evaluation to the aftercare
               contractor during the period of community supervision. The defendant shall provide payment
               and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay,
               no payment shall be required.

         11.      The defendant shall not view or possess any materials, including pictures, photographs,
               books, writings, drawings, videos, or video games depicting and/or describing child
               pornography, as defined at 18 U.S.C. § 2256(8), or sexually explicit conduct, as defined at 18

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               U.S.C. §2256(2). This condition does not prohibit the defendant from possessing materials solely
               because they are necessary to, and used for, a collateral attack, nor does it prohibit him from
               possessing materials prepared and used for the purposes of his Court-mandated sex offender
               treatment, when the defendant's treatment provider or the probation officer has approved of his
               possession of the materials in advance.

         12.      The defendant shall not associate or have verbal, written, telephonic, or electronic
               communication with any person under the age of 18, except: (a) in the presence of the parent or
               legal guardian of said minor; and (b) on the condition that the defendant notify said parent or
               legal guardian of his conviction in the instant offense. This condition does not encompass
               persons under the age of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant
               must interact with in order to obtain ordinary and usual commercial services.

         13.      The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public
               swimming pools, playgrounds, youth centers, video arcade facilities, or any other places
               primarily used by persons under the age of 18.

         14.      The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity
               by a business or organization that causes him to regularly contact persons under the age of 18.

         15.       The defendant's employment shall be approved by the Probation Officer, and any change in
               employment must be pre-approved by the Probation Officer. The defendant shall submit the
               name and address of the proposed employer to the Probation Officer at least 10 days prior to any
               scheduled change.

         16.      The defendant shall possess and use only those computers and computer-related devices,
               screen usernames, passwords, email accounts, and internet service providers (ISPs) that have
               been disclosed to the Probation Officer upon commencement of supervision. Any changes or
               additions are to be disclosed to the Probation Officer prior to the first use. Computers and
               computer-related devices include personal computers, personal data assistants (PDAs), internet
               appliances, electronic games, cellular telephones, and digital storage media, as well as their
               peripheral equipment, that can access, or can be modified to access, the internet, electronic
               bulletin boards, and other computers.

         17.      All computers, computer-related devices, and their peripheral equipment, used by the
               defendant shall be subject to search and seizure. This shall not apply to items used at the
               employment's site, which are maintained and monitored by the employer.

         18.      The defendant shall comply with the rules and regulations of the Computer Monitoring
               Program. The defendant shall pay the cost of the Computer Monitoring Program, in an amount
               not to exceed $32 per month per device connected to the internet.

         19.      The defendant shall submit to a search, at any time, with or without warrant, and by any law
               enforcement or probation officer, of the defendant's person and any property, house, residence,
               vehicle, papers, computers [as defined in 18 U.S.C. § 1030(e)(1)], cell phones, other electronic

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              communication or data storage devices or media, effects and other areas under the offender’s
              control, upon reasonable suspicion concerning a violation of a condition of supervision or
              unlawful conduct by the defendant, or by any probation officer in the lawful discharge of the
              officer's supervision functions.

The drug testing condition mandated by statue is suspended based on the Court’s determination that the defendant
poses a low risk of future substance abuse.

The Court authorizes the United States Probation & Pretrial Services Office to disclose the Presentence Report,
and/or any previous mental health evaluations or reports, to the treatment provider. The treatment provider may
provide information (excluding the Presentence Report) to State or local social service agencies (such as the State
of California, Department of Social Service), for the purpose of the client's rehabilitation.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at
or before 12 noon, on April 30, 2021. In the absence of such designation, the defendant shall report on or before
the same date and time, to the United States Marshal located at the United States Court House, 411 West Fourth
Street, Santa Ana, CA 92701.

Defendant is advised of his appeal rights. The Court recommends that the defendant be housed at a facility in
Southern California. On the Government’s motion, the remaining count is ordered DISMISSED.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            January 11, 2021
            Date                                                   U. S. District Judge James V Selna

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                   Clerk, U.S. District Court



            1/11/21                                          By    Lisa Bredahl
            Filed Date                                             Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:


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 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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